           Case 1:21-md-03010-PKC Document 61 Filed 09/07/21 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------x

IN RE GOOGLE DIGITAL ADVERTISING
ANTITRUST LITIGATION                                                        21-md-3010 (PKC)


-----------------------------------------------------------
THIS ORDER RELATES TO:

THE STATE OF TEXAS, et al.,
                                    Plaintiffs,
                                                                             21-cv-6841 (PKC)

                  -against-                                                  ORDER

GOOGLE LLC,
                                    Defendant.

-----------------------------------------------------------x
CASTEL, District Judge:

                  1.       Plaintiffs’ motion for leave to file the Second Amended Complaint is

granted. The Second Amended Complaint forthwith shall be filed in the redacted form

submitted to this Court.

                  2.       Defendants’ time to answer or move with respect to the Second Amended

Complaint is set as September 30, 2021. In lieu of filing an answer, defendants may file a pre-

motion letter in accordance with the undersigned’s Individual Practices setting forth in detail the

grounds for any motion to dismiss. Defendants may propose a schedule on the proposed motion.

                  3.       If defendants file a pre-motion letter, then by October 8, 2021 plaintiffs

shall file a response stating unequivocally whether they wish to further amend the complaint,

including for the purpose of winnowing or clarifying their claims. They may also respond to the

proposed schedule.
        Case 1:21-md-03010-PKC Document 61 Filed 09/07/21 Page 2 of 2




              4.     Let the parties show cause in writing by September 17, 2021 why the

Second Amended Complaint ought not be publicly filed in unredacted form. See Lugosch v.

Pyramid Co. of Onondaga, 435 F.3d 110 (2d Cir. 2006).

               SO ORDERED.




Dated: New York, New York
       September 7, 2021




                                             2
